
Smith, J.
1. Their being evidence tending to show that Jennings, Ford &amp; Co. expressly referred Haynes, the plaintiff, to Alex. Ford for information as to a claim which Haynes was asserting against the firm, and which they were disputing, and agreed to pay it if Alex. Ford said it was right and would not pay it himself, held, that what Alex. Ford said in answer to such inquiry as to the matter so referred to him, was admissible as evidence against Jennings, Ford &amp; Co. (1 Green-leaf on Ev., Sec. 182).
2. Where a question was put to a witness as to what Ford said in answer to such inquiry, and it was objected to by Jennings, Ford &amp; Co. before it was answered, the court properly overruled the objection. If any answer shown to have been made by Ford was incompetent, the defendant should have moved to exclude the incompetent parts, and on failure to do so, cannot afterwards claim it to be incompetent.
3. Where the question is, whether the plaintiff was acting in the employment of the defendants in the purchase of hogs, and has introduced telegrams to himself from the defendants, instructing him to buy divers lots of hogs for them at various times, and defendants offered to introduce other telegrams of like tenor and effect from themselves to other persons, not in . their employ, but in the employ of another, of which plaintiff had no knowledge, held, they were properly excluded.

Judginent affirmed.

